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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

PUMA BIOTECHNOLOGY, INC. and                      )
WYETH LLC,                                        )
                                                  )
                Plaintiffs,                       )
                                                  )
        v.                                        )      C.A. No. 21-1338 (MFK)
                                                  )
ASTRAZENECA PHARMACEUTICALS                       )
LP and ASTRAZENECA AB,                            )
                                                  )
                Defendants.                       )

                                   JOINT STATUS REPORT

                Pursuant to the Court’s Order dated July 10, 2023, the parties hereby submit this

joint status report.

1.      Fact Discovery

                Plaintiffs’ Position. Fact discovery closed on May 19, 2023. However, there

remains outstanding fact discovery to be produced by AstraZeneca to comply with the Court’s

Orders of June 15, 2023 (D.I. 200) and August 23, 2023 (Minute Entry). On August 23, the Court

further explained its earlier June 15 ruling enforcing certain of Plaintiffs’ Requests for Production,

Interrogatories, and Rule 30(b)(6) topics to make clear “that [in] enforcing certain discovery

requests relating to the ‘Patents in Suit’ and ‘Asserted Patents’ [the Court] intended to require

production of information concerning the US patent applications that directly led to the issuance

of the two patents in suit” (Aug. 23, 2023, Minute Entry).

                As of the date of this Joint Status Report, AstraZeneca has not produced any

additional documents or information in response to the Court’s Orders. Plaintiffs have asked what

efforts AstraZeneca has made or is making to comply, whether and when additional responsive

documents and information will start being produced, and when those efforts will be completed.
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That information has not been provided. Plaintiffs repeatedly asked AstraZeneca to at least

reproduce its July 7 production of 113 documents immediately, removing any redactions made

based on AstraZeneca’s prior position that it was not required to produce any information about

the applications that led to the Patents-in-Suit, which the Court has clarified was incorrect.

AstraZeneca responded this morning with the information in its position statement below,

indicating that none of the information that it redacted from the July 7 production related to the

applications that led to the Patents-in-Suit, because all of those documents came after the Notices

of Allowance for the Patents-in-Suit had issued. AstraZeneca also responded this morning to

Plaintiffs’ request for a meet and confer to discuss the outstanding fact discovery issues, including

AstraZeneca’s search for and production of documents and information created before the Notices

of Allowance issued. That discussion is scheduled to take place on Thursday, September 14, at 10

am Central.

               AstraZeneca’s Position. AstraZeneca fully complied with the Court’s June 15,

2023 Order (D.I. 200) granting in part and denying in part Plaintiffs’ Second Motion to Compel,

as explained through briefing to the Court in response to Plaintiffs’ Motion to Enforce (D.I. 235).

On August 23, the Court clarified the June 15 Order, stating that “[t]he Court clarifies that

enforcing certain discovery requests relating to the ‘Patents in Suit’ and ‘Asserted Patents’ it

intended to require production of information concerning the US patent applications that directly

led to the issuance of the two patents in suit.” (Aug. 23, 2023, Minute Entry). As AstraZeneca

repeatedly informed Plaintiffs, in the 2.5 weeks since the Court’s clarification, AstraZeneca has

been diligently searching to discover what (if any) additional information responsive to the Court’s

clarification that has not been produced to Plaintiffs. To the extent any is found, AstraZeneca has

ensured Plaintiffs that it will promptly supplement its discovery responses.




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               Plaintiffs provided AstraZeneca with a draft of this Joint Status Report, including

their position statement above, on Friday afternoon (September 8). AstraZeneca promptly

responded on Monday morning (September 11), again explaining that we are working to discover

whether additional enforced, unproduced information exists. AstraZeneca also again explained

that AstraZeneca has already produced the enforced information following the Notices of

Allowance of the Patents-in-Suit. To the extent there was any enforced information about the U.S.

patent applications after the Patents-in-Suit were allowed in the documents that AstraZeneca

produced it was not redacted. Although it is not clear to AstraZeneca what more Plaintiffs seek,

AstraZeneca has agreed to meet and confer with Plaintiffs this week.

2.     Expert Discovery

               Pursuant to the Scheduling Order, the parties served opening expert reports on

issues for which they bear the initial burden of proof on July 28, 2023, and served rebuttal expert

reports on September 8, 2023. The parties will disclose the availability of their experts for

deposition on September 15, 2023, followed by reply expert reports on October 6, 2023. Expert

discovery closes November 17, 2023.

3.     Pending Motions

               On August 17, 2023, Plaintiffs filed a Motion for Judgment on the Pleadings on

Defendants’ Fifth Affirmative Defense Pursuant to Fed. R. Civ. P. 12(c) and 12(h) and to Strike

the Related Expert Report of Teresa Stanek Rea. D.I. 240. That motion is now fully briefed. The

parties are available for argument on the motion if it would be useful to the Court.

4.     Settlement Discussions

               Although the parties engaged in preliminary, pre-suit discussions, no further

discussions regarding a resolution of the parties’ dispute have taken place since the case was filed.




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